Case 2:04-cr-20284-.]DB Document 48 Filed 05/12/05 Page 1 of 2 Page|D 55

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

UNITED STATES OF AMERICA,
Plaintiff,
VS. CR. NO. 04-20284-B

Corlinda Dickerson,

.__,~_,~_-._¢-_,~._,-_,,~__._._,__,

Defendant.

 

03DER 0N cHANGE oF PLEA
AND SETTING

 

This cause came to he heard on May 12, 2005, the United States Attorney for
this district, Camille McMullen, appearing for the Government and the defendant,
Corlinda Dickersonr appearing in. person_ and, With_ counsel, Doris Holt, who
represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count l of the Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this CaSe is SET for TUESDAY, AUGUST 16, 2005, at
1:30 P.M., in Courtroqm No. 1, on the 11th floor before Judge J. Daniel Breen.

Defendant is allowed to remain released on present hond.

dba

J. DANJ:Ei. BREEN
I D sTA'rEs DISTRICT JUDGE

ENTERED this the {z day of May, 2005.

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Doris A. Randle-Holt

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Honorable J. Breen
US DISTRICT COURT

